8:06-cr-00243-LSC-FG3      Doc # 282     Filed: 10/02/12    Page 1 of 1 - Page ID # 792




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

  UNITED STATES OF AMERICA,                )
                                           )
                       Plaintiff,          )
                                           )                8:06CR243
               vs.                         )
                                           )                ORDER
  ANTHONY DAVIS,                           )
                                           )
                       Defendant.          )

        Defendant Anthony Davis appeared before the court on Monday, October
  1, 2012 on a Petition for Warrant or Summons for Offender Under Supervision
  [273]. The defendant was represented by Assistant Federal Public Defender
  Julie B. Hansen and the United States was represented by Assistant U.S.
  Attorney Frederick D. Franklin. The government did not request detention
  therefore, the Defendant was not entitled to a preliminary examination. The
  defendant was released on current terms and conditions of supervision.
        I find that the Report alleges probable cause and that the defendant should
  be held to answer for a final dispositional hearing before Chief Judge Smith
  Camp.
        IT IS ORDERED:
        1.     A final dispositional hearing will be held before Chief Judge Smith Camp
  in Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th
  Plaza, Omaha, Nebraska, on November 29, 2012 at 10:30 a.m. Defendant must be
  present in person.
        2.     The defendant is released on current conditions of supervision.
        DATED this 1st day of October, 2012.

                                                   BY THE COURT:

                                                   s/ F. A. Gossett
                                                   United States Magistrate Judge
